                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )        NO. 3:09-00240-2
                                           )        JUDGE CAMPBELL
FAITH READUS                               )

                                           ORDER

       Pending before the Court is Defendant’s Motion for Expedited Sentencing Hearing

(Docket No. 2350). The Motion is DENIED without prejudice to refiling upon completion of the

Presentence Report and the parties filing objections and sentencing memoranda with the Court.

       IT IS SO ORDERED.



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                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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